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                     EXHIBIT “E”
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McGowan, Emmett

From:                                Roh, Katriana G <kroh@paulweiss.com>
Sent:                                Wednesday, March 28, 2018 11:36 PM
To:                                  McGowan, Emmett
Subject:                             [EXTERNAL] RE: API Heat Transfer Inc. Document Subpoena in W.D.N.Y. Case 1:14-
                                     cv-0105-0-RJA-HKS American Precision Industries, Inc. v. Federal Insurance Company


Emmett‐ 
 
While I am skeptical of the urgency of a request you have been silent on for over a year, and, as we had discussed 
previously, believe your inquiries are properly directed to counsel for plaintiff, per our discussion last year and without 
waiver of any objections, I am able to confirm on behalf of API Heat Transfer as follows: 
 
API Heat Transfer Technologies Corporation merged with Heat Transfer Enterprises, Inc. as of July 11, 2007.  The same 
day, Heat Transfer Enterprises merged into Heat Transfer Parent, Inc. (n/k/a API Group Intermediate Holding Company). 
API Heat Transfer Inc. was a wholly owned subsidiary of API Group Intermediate Holding Company. 
 
Best, 
Kate 

Katriana G. Roh | Associate 
Paul, Weiss, Rifkind, Wharton & Garrison LLP 
1285 Avenue of the Americas | New York, NY 10019‐6064 
+1 212 373 3631 (Direct Phone) | +1 212 492 0631 (Direct Fax) 
kroh@paulweiss.com | www.paulweiss.com  

 
From: McGowan, Emmett [mailto:mcgowan@mclolaw.com]  
Sent: Tuesday, March 20, 2018 10:50 AM 
To: Roh, Katriana G <kroh@paulweiss.com> 
Subject: RE: API Heat Transfer Inc. Document Subpoena in W.D.N.Y. Case 1:14‐cv‐0105‐0‐RJA‐HKS American Precision 
Industries, Inc. v. Federal Insurance Company 
 
Ms. Roh:              I am reaching out one more time in an attempt to secure API Heat Transfer Inc.’s response to the 
Subpoena to Produce Documents which was served on October 7, 2016.  If we do not receive substantive responses 
within ten (10) days, we will have no choice but to utilize motions practice. 
 
Emmett 
856‐380‐8936 
 
From: Roh, Katriana G [mailto:kroh@paulweiss.com]
Sent: Wednesday, January 25, 2017 1:33 PM
To: McGowan, Emmett
Subject: RE: API Heat Transfer Inc. Document Subpoena in W.D.N.Y. Case 1:14-cv-0105-0-RJA-HKS American Precision
Industries, Inc. v. Federal Insurance Company
 
Emmett‐ 
 
Apologies, I was out sick yesterday.  I have a series of meetings, but can I call you at 3:30?  If that time does not work, 
please propose an alternative. 
                                                                 1
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Best, 
Kate 
 

Katriana G. Roh | Associate 
Paul, Weiss, Rifkind, Wharton & Garrison LLP 
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(212) 373‐3631 (Direct Phone) | (212) 492‐0631 (Direct Fax) 
kroh@paulweiss.com | www.paulweiss.com  

 
From: McGowan, Emmett [mailto:mcgowan@mclolaw.com]  
Sent: Tuesday, January 24, 2017 11:31 AM 
To: Roh, Katriana G <kroh@paulweiss.com> 
Subject: API Heat Transfer Inc. Document Subpoena in W.D.N.Y. Case 1:14‐cv‐0105‐0‐RJA‐HKS American Precision 
Industries, Inc. v. Federal Insurance Company 
 
Ms. Roh, 
 
                I am following‐up again regarding API Heat Transfer Inc.’s (“Heat Transfer’s”) failure to respond to the 
Subpoena To Produce Documents which was served on Heat Transfer on October 7, 2016. As you know, Heat Transfer’s 
response was due October 31, 2016. You and I discussed the Subpoena on November 17, 2016 and December 13, 
2016.  Despite these discussions, to date, we still have not received a response to the Subpoena.  Please be advised that 
if we do not receive the documentation demanded in the Subpoena by close of business this Friday, January 27, 2017, 
we will have no choice but to file a motion to enforce the Subpoena. 
 
                Please do not hesitate to contact me if you would like to discuss. 
 
Sincerely, 
Emmett                 
 
Emmett E. McGowan, III
Siegal & Park
533 Fellowship Road, Suite 120
Mt. Laurel, NJ 08054

: (856) 380-8936
Emmett.McGowan@mclolaw.com 
 

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